FILED

OC! 05 2022
UNITED STATES DISTRICT COURT

 

EASTERN DISTRICT OF TENNESSEE Clerk, U. S. District Court
AT KNOXVILLE Eastern District of Tennessee
At Knoxville
UNITED STATES OF AMERICA )
) No. 3:22-cr- 4X
v )
) JUDGES Cr vizey | M ¢ Co ok
and )
MICHAEL BELL ) UNDER SEAL

INDICTMENT
The Grand Jury charges that, from in or about August, 2021, up to and including on or
about September 1, 2021, in the Eastern District of Tennessee and elsewhere, the defendants,
ae MICHAEL BELL, did combine, conspire, confederate, and agree with
one another and others to knowingly, intentionally and without authority distribute fifty (50)
grams or more of methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II
controlled substance, all in violation of Title 21, United States Code, Sections 846, 841(a)(1) and

841(b)(1)(A).

DRUG TRAFFICKING FORFEITURE ALLEGATIONS

The allegations contained in Count One of this Indictment are hereby realleged and
incorporated herein by reference for the purpose of alleging forfeiture pursuant to Title 21,
United States Code, Section 853.

Upon conviction of an offense in violation of Title 21, United States Code, Sections 846
and/or 841, the defendants, ae: MICHAEL BELL, shall forfeit to the United
States, pursuant to Title 21, United States Code, Section 853, any property constituting, or
derived from, any proceeds obtained, directly or indirectly, as a result of such offense and any

property used, or intended to be used, in any manner or part, to commit, or to facilitate the

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commission of the offense. The property to be forfeited includes but is not limited to the

following:

Money Judgment

Proceeds the defendants) and MICHAEL BELL personally

obtained as a result of the violations of Title 21, United States Code, Sections 841

and/or 846.

Pursuant to Title 21, United States Code, Section 853(p), each defendant shall forfeit

substitute property, up to the value of the property subject to forfeiture, if by any act or omission

of the defendant, the property, or any portion thereof:

a.

b.

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a third party;
has been placed beyond the jurisdiction of the court;

has been substantially diminished in value; or

has been commingled with other property which cannot be divided

without difficulty.

A TRUE BILL:

 

FRANCIS M. HAMILTON III
UNITED STATES ATTORNEY

Cf Deg

Cynthia F. Davidson

Assistant United States Attorney

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